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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 AMERICAN ASSOCIATION FOR JUSTICE                         )
          Plaintiff,                                      )
                                                          )
        v.                                                )
                                                          )
 CERTAIN UNDERWRITERS AT LLOYD’S                          ) Case No. 1:21-cv-00847-JDB
 LONDON SUBSCRIBING TO                                    )
 SHOWSTOPPERS POLICY CERTIFICATE                          )
 NO. CR0314627, SPECIFICALLY                              )
 SYNDICATES 2623, 0623, 033, AND 4141                     )
            Defendants.                                   )
                                                          )
                                                          )

                                  JOINT STATUS REPORT

       Pursuant to this Court’s December 1, 2021 Order, Plaintiff American Association for

Justice (“AAJ”) and Defendants Certain Underwriters at Lloyd’s London Subscribing to

Showstoppers Policy Certification No. CR0214627 (“Underwriters”) jointly notify the Court that

the parties have executed a settlement agreement and release that fully and finally resolves this

dispute. Underwriters are processing the settlement payment and will issue the payment to Plaintiff

by January 12, 2022. Upon receipt of the settlement payment, AAJ will file a notice of dismissal

of this matter with prejudice within two business days.

       Respectfully submitted, this 4th day of January, 2022.

                                         TROUTMAN PEPPER HAMILTON SANDERS LLP

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                         Counsel for Plaintiff




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                               CERTIFICATE OF SERVICE

       I hereby certify that on January 4, 2022, a copy of the foregoing Joint Status Report was

filed electronically through the Court’s CM/ECF System on the following:

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       This 4th day of January, 2022.

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